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              UNITED STATES DISTRICT COURT

             SOUTHERN DISTRICT OF GEORGIA

                       STATESBORO DIVISION

IRIE WILLIAMS BRINSON,              )
                                    )
v.                                  )      Case No. CV611-049
                                    )               CR609-023
UNITED STATES OF AMERICA            )

                REPORT AND RECOMMENDATION

      Irie Williams Brinson filed a “Breif [sic] for Habeas Corpus 2255.”

CR609-049, doc. 91 at 1. Indicted for a variety of drug charges, doc. 3, he

pled guilty to distribution of a quantity of cocaine base within 1,000 feet of

a school zone and a playground, in violation of 21 U.S.C. § 841(a)(1) and §

860. Doc. 76 & 77. The Court sentenced him to 200 months’

imprisonment (doc. 74 at 2) and, consistent with his appeal waiver, doc. 77

at 6, he took no appeal. It sentenced his co-defendant, Franklin Lamar

Bacon, to 37 months. Doc. 76.

      Brinson now cites that sentencing disparity as “unfair” and thus

grounds for § 2255 relief. Doc. 91. Plus, he claims that his lawyer was

ineffective because he “never made him aware that his co-defends [sic]

deal was much less then [sic] his or that he [e]ntitled [sic] to the same
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sentence as his co-defendant.” Id. at 1-2. This Court issued Brinson a

“Castro” warning, see Castro v. United States, 540 U.S. 375, 383 (2003),

doc. 92, and he has, by his inaction, elected to proceed on this claim. See

doc. 92 at 3 (“If, after thirty days, he does not replace his “brief” or

withdraw it, the Court will proceed to rule on it as filed -- as a § 2255

motion.”). The Court will thus conduct a § 2255 Rule 4 preliminary

review.

      Sentencing disparity claims have been reached on direct appeal. 1

And “although the sentencing process may be reviewed by the district

court on a § 2255 motion, the severity of a sentence within statutory limits

may not be reviewed because it raises no constitutional or statutory

question.” Nelson v. United States, 709 F.2d 39, 40 (11th Cir. 1983);

Fonseco v. United States, 2011 WL 2457854 at * 5 (S.D. Fla. Apr. 18,


1
    See, e.g., United States v. Hill, 643 F.3d 807, 848 (11th Cir. 2011) (reasonable bases
existed for differences in 127-month sentence received by defendant and 5-month
sentence received by co-defendant for their involvement in mortgage fraud and money
laundering scheme; although defendant and co-defendant were both appraisers
involved in scheme, defendant participated in more transactions than co-defendant,
co-defendant did not profit from scheme, and amount of loss was grossly overstated in
her criminal conduct compared to other defendants); United States v. Blackwell, 127
F.3d 947, 951 (10th Cir. 1997); but see United States v. Regueiro, 240 F.3d 1321,
1325-26, (11th Cir. 2001) (“Disparity between the sentences imposed on codefendants
is generally not an appropriate basis for relief on appeal”).
                                            2
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2011). In that disparity is a subset of severity, and Brinson does not show

he received a sentence beyond the statutory limits, his § 2255 motion fails

to the extent that he raises a severity/disparity claim now. See Wilson v.

United States, 2008 WL 2024966 at * 3 (M.D. Ga. May 8, 2008)

(“Petitioner Wilson's complaint regarding the sentences of his

co-defendants does not rise to the level of violation of a constitutional

right and affords no relief in § 2255.”).

       Nor can Brinson show that his lawyer was constitutionally

ineffective 2 for failing to make him “aware that his codefendant’s deal



2
    To prevail on a claim of ineffective assistance of counsel (IAC), a defendant must
establish two elements: (1) that counsel's performance fell below the wide range of
reasonably competent performance under prevailing professional standards and (2)
that but for counsel's deficient performance, the outcome of the proceedings probably
would have been different. Strickland v. Washington, 466 U.S. 668, 687-89 1984). In
evaluating counsel's performance, “every effort [must] be made to eliminate the
distorting effects of hindsight ... [and] a court must indulge in a strong presumption
that counsel's conduct falls within the wide range of reasonable professional
assistance.” Id. at 689. This standard applies to challenges to guilty pleas. Stano v.
Dugger, 921 F.2d 1125, 1149-51 (11th Cir.1991). A guilty plea must be entered into
with the advice of competent counsel regarding alternative courses of action open to
the defendant. Id. Counsel’s failure to provide the defendant with reasonably
competent advice can leave a guilty plea open to attack as involuntary. Id. But
    [s]urmounting Strickland’s high bar is never an easy task. See, e.g., 466 U.
    S., at 689 (“Judicial scrutiny of counsel’s performance must be highly
    deferential”); id., at 693 (observing that “[a]ttorney errors ... are as likely to
    be utterly harmless in a particular case as they are to be prejudicial”).
    Moreover, to obtain relief on this type of claim, a petitioner must convince the
                                            3
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was much less than his or that he was [e]ntitled to the same sentence as

his co-defendant.” Doc. 91 at 2. First, Brinson fails to show that he

would not have pled guilty had his lawyer so informed him. See supra n.

1. Second, any failure to investigate and inform in that manner does not

meet the Strickland standard. Blackwell, 127 F.3d at 954-56 (no

ineffective assistance when counsel failed to investigate sentencing of

coconspirator despite counsel's concession that, in hindsight, he should

have investigated coconspirator's sentence). And third, Brinson waived his

right to even bring this § 2255 motion. 3


    court that a decision to reject the plea bargain would have been rational under
    the circumstances. See Roe v. Flores-Ortega, 528 U. S. 470, 480, 486 (2000).

Padilla v. Kentucky, ___ U.S. ___, 130 S. Ct. 1473, 1485 (2010).
3
    The Plea Agreement between him and the United States includes this provision:

    To the maximum extent permitted by federal law, the defendant voluntarily
    and expressly waives the right to appeal the conviction and sentence and the
    right to collaterally attack the sentence in any post-conviction proceeding,
    including a § 2255 proceeding, on any ground, except that: the defendant may
    file a direct appeal of his sentence if it exceeds the statutory maximum; and the
    defendant may file a direct appeal of his sentence if, by variance or upward
    departure, the sentence is higher than the advisory sentencing guideline range
    as found by the sentencing court. The defendant understands that this Plea
    Agreement does not limit the Government's right to appeal, but if the
    Government appeals the sentence imposed, the defendant may also file a direct
    appeal of the sentence.

Doc. 77 at 6 (emphasis added).        “Here, the terms of the waiver provision are
                                           4
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      Accordingly, Irie Williams Brinson’s Motion to Vacate, doc. 91,

should be DENIED. Applying the Certificate of Appealability (COA)

standards set forth in Brown v. United States, 2009 WL 307872 at * 1-2

(S.D. Ga. Feb. 9, 2009) (unpublished), the Court discerns no COA-worthy

issues at this stage of the litigation, so no COA should issue. 28 U.S.C. §

2253(c)(1); see Alexander v. Johnson, 211 F.3d 895, 898 (5th Cir. 2000)

(approving sua sponte denial of COA before movant filed a notice of

appeal). And, as there are no non-frivolous issues to raise on appeal, an

appeal would not be taken in good faith. Thus, in forma pauperis status

on appeal should likewise be DENIED. 28 U.S.C. § 1915(a)(3).

      SO REPORTED AND RECOMMENDED this 8th day of

August, 2011.

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                                                          -1'
                                           UNiTED STATES MAGISTRAI'E JUDGE
                                           SOUTHERN DISTRICT OF GEORGIA


abundantly clear -- no collateral attack is allowed.” U.S. v. Graham, 2011 WL
2689052 at * 6 (10th Cir. Jul. 12, 2011); Williams v. United States, 396 F. 3d 1340, 1342
(11th Cir. 2005) (“[A] valid sentence-appeal waiver, entered into voluntarily and
knowingly, pursuant to a plea agreement, precludes the defendant from attempting to
attack, in a collateral proceeding, the sentence through a claim of ineffective
assistance of counsel during sentencing. . . . [A] contrary result would permit a
defendant to circumvent the terms of the sentence-appeal waiver simply by recasting a
challenge to his sentence as a claim of ineffective assistance, thus rendering the waiver
meaningless.”).
                                            5
